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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  MISTY SNOW,                                        Case No. 21-cv-03269-VC
                 Plaintiff,
                                                     ORDER RE: HEARING ON MOTION
           v.                                        TO DISMISS
  ALIGN TECHNOLOGY, INC.,                            Re: Dkt. No. 37
                 Defendant.



        The Sherman Act claims will be dismissed without prejudice for failure to adequately

allege standing to seek injunctive relief. The plaintiffs have adequately alleged antitrust standing

under the federal test, so even if AGC applies in some of the repealer states, dismissal of the state

law claims on that basis would not be warranted. The Court will not hear argument on these

issues. Instead, the parties should be prepared to focus on the following issues:

        1. Have the plaintiffs adequately alleged concerted action?

        2. If the plaintiffs have adequately alleged concerted action, the Cartwright Act claim on

behalf of the Statutory Right of Action Class would survive (at least for now, subject to a choice-

of-law analysis that the parties have not properly presented in these motions). Assuming that the

Cartwright Act claim survives this motion, is there any reason for the Court to reach the

remaining arguments related to the individual state claims? In other words, are the individual

state claims properly understood as having been pled in the alternative, requiring adjudication

only if the Cartwright Act claim on behalf of the Statutory Right of Action Class were to fall

away?

        IT IS SO ORDERED.

Dated: September 29, 2021
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
